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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DONALD TWYMAN,                                     )
                                                   )
                    Plaintiff,                     )
                                                   )
       v.                                          )
                                                   ) Case No. 1:16-cv-04182
                                                   )
S & M AUTO BROKERS, INC. et al.,
                                                   ) Honorable Virginia M. Kendall
                                                   )
                    Defendants.                    )

MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR JOEL ALAN BRODSKY
            FILED BY RYAN T. BROWN AND BRIAN M. ROTH

       Ryan T. Brown and Brian M. Roth hereby respectfully submit the following Motion to

Withdraw as Counsel of Record for Joel Alan Brodsky in accordance with Northern District of

Illinois Local Rule 83-17.

       I.      INTRODUCTION

       The national law firm of Gordon Rees Scully Mansukhani, LLP (“GRSM”), through

Ryan T. Brown and Brian M. Roth, was retained to represent Joel Alan Brodsky (“Brodsky”)

by his professional liability carrier in the above-referenced matter in May 2017. GRSM,

through Brown, also represented Brodsky before the United States Court of Appeals for the

Seventh Circuit (Case No. 18-1811), the Executive Committee for the United States District

Court for the Northern District of Illinois in relation Citation No. 18D10, and the Illinois

Attorney Registration and Disciplinary Commission (“ARDC”) in relation an investigation

(opened in 2017) and eventual complaint filed against Brodsky on August 21, 2018 as

Commission No. 2018PR00064.
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         As explained below, there has been an irreconcilable breakdown in the attorney-client

relationship, culminating in Brodsky filing a civil complaint against Brown and GRSM in the

Circuit Court of Cook County, Case No. 2019L001570, on February 13, 2019.

II.      ABBRIEVATED PROCEDURAL HISTORY / BACKGROUND

         1.       On April 8, 2016, Plaintiff Donaldson Twyman brought the underlying action

against Defendants. (Doc. 1).

         2.       As early as August 2016, the District Court reprimanded counsel for the parties

for “battling unprofessionally” in relation to discovery. (See August 25, 2016 Minute Entry, Doc.

35).

         3.       On April 12, 2017, this District Court held a hearing to address the conduct of

counsel in the case, focusing on certain filings, comments and conduct by Brodsky. (See

Transcript of April 12, 2017 Hearing, Doc. 165).

         4.       In an April 12, 2017 Minute Entry issued subsequent to the hearing, the Court

invited Plaintiff’s counsel and counsel for Plaintiff’s expert to respond to certain allegations

made by Brodsky in filings in and on the record, and to file motions addressing any sanctions

warranted against Brodsky in relation to filings, comments, and/or conduct in the litigation. (See

April 12, 2017 Minute Entry, Doc. 164).

         5.       On or about May 8, 2017, GRSM was retained by Brodsky’s professional liability

carrier to serve as his ethics counsel in relation to the potential consequences (including

sanctions) for improper, inappropriate and/or unprofessional filings, comments, and conduct in

the litigation.

         6.       On May 12, 2017, at Brodsky’s request, Joseph Lopez filed an appearance on

behalf of Brodsky. (Doc. 180).




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        7.      On May 18, 2017, Ryan T. Brown and Brian M. Roth filed appearances on behalf

of Brodsky. (Docs. 188, 189).

        8.      On May 31, 2017, the District Court held a hearing on certain outstanding

motions. During the hearing, the District Court acknowledged Brodsky’s efforts to deescalate

and mitigate, but confirmed its intention to hold an evidentiary hearing regarding the conduct of

counsel (with a focus on Brodsky). (See May 31, 2017 Minute Entry, Doc. 200; Transcript of the

May 31, 2017 Hearing, Doc. 216). At the conclusion of the hearing, in consultation with the

Court, and through agreement by the parties and counsel, the District Court scheduled a

settlement conference for the following day, June 1, 2017. (Id.)

        9.      On June 1, 2017, Defendant S&M Auto Brokers, Inc. settled the underlying action

with Plaintiff Twyman, while leaving open the issue of statutory attorneys’ fees and costs. In the

subsequent Minute Entry confirming the settlement, the District Court retained jurisdiction over

the issue of sanctions. (See June 2, 2017 Order, Doc. 202).

        10.     On July 7, 2017, the District Court held a hearing addressing the pending motions

for sanctions as well as the District Court’s inherent power to sanction attorneys for misconduct.

(See Transcript of the July 7, 2017 Hearing, Doc. 217). Brown and Lopez represented Brodsky’s

interests at the hearing, and Brodsky personally apologized to the Court, Plaintiff’s counsel, and

Plaintiff’s expert. (Id.)

        11.     On August 23, 2017, the parties, Brodsky, and their counsel resolved all

remaining issues in the underlying litigation, including the pending motions for sanctions and the

issue of Plaintiff’s attorneys’ fees and costs. The Court subsequently issued a Minute Entry

confirming the conclusion of the litigation. (See August 25, 2017 Minute Entry, Doc. 223).




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       12.      On March 28, 2018, Judge Virginia M. Kendall entered an Opinion and Order

imposing the following sanctions against Joel A. Brodsky based upon the District Court’s

inherent power:

             Brodsky shall pay a fine of $50,000.00 to the Clerk of the Court;

             Brodsky shall attend an ethics courts approved by the Attorney Registration
             and Disciplinary Commission and provide the Court with verification of
             completion of the course;

             Brodsky shall attend an anger management course and provide the court with
             verification of the successful completion of the course; and

             the Court shall refer Brodsky to the Executive Committee for consideration of
             being barred or suspending from practicing in the Northern District of Illinois
             for his failure to abide by Court rules.

             (See March 28, 2018 Memorandum Opinion and Order, Doc. 224, p. 15).

       13.      On April 12, 2018, the Executive Committee for the United States District Court

for the Northern District of Illinois issued Citation No. 18D10 to Brodsky.1

       14.      On April 16, 2018, Brodsky filed a Notice of Appeal with the United States Court

of Appeals for the Seventh Circuit. (Doc. 225).

       15.      On April 24, 2018, Brodsky filed a Motion to Waive the Supersedeas Bond and to

Stay the Anger Management Course Requirement. (Doc. 232).

       16.      On May 9, 2018, the District Court issued a Minute Entry agreeing to waive the

supersedeas bond but denying a stay in the requirement that Brodsky attend an anger

management class. (Doc. 239).

       17.      On July 6, 2018, Appellant’s Brief was filed with Seventh Circuit Court of

Appeals. (Document No. 14 in Case No. 18-1811).



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 In or about June 2018, the Executive Committee took the matter (Citation No. 18D10) under advisement
and stayed it for further consideration at a later meeting.


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          18.     On September 10, 2018, Amicus Curaie appointed by defend this Court’s March

28, 2018 Opinion and Order filed its response brief. (Document No. 18 in Case No. 18-1811).

          19.     On October 24, 2018, Appellant’s reply brief was filed. (Document No. 30 in

Case No. 18-1811).

          20.     On November 7, 2018, oral argument was held before Circuit Judges Ilana Diamond

Rovner, Diane S. Sykes, and Amy C. Barrett. (An audio recording of the oral argument can be

found at: https://uscircuitcourts.wordpress.com/2018/11/07/7th-circuit-oral-argument-in-case-18-

1811/).

          21.     On January 18, 2019, a Nonprecedential Disposition per curiam was filed affirming

Judge Kendall’s March 28, 2018 Order. (Doc. 34 of Case No. 18-1811). Concurrently, on

January 18, 2019, a Final Judgment was filed. (Doc. 35 in Case No. 18-1811).

          22.     On January 18, 2019, following the issuance of the Nonprecedntial Disposition

and Final Judgment by the Seventh Circuit Court of Appeals, Brodsky made certain

comments/allegations to Brown that created a conflict of interest, requiring GRSM to terminate the

representation.

          23.     On January 22, 2019, GRSM expressly advised Brodsky of the termination of the

engagement, and Brown concurrently filed a motion to withdraw as counsel for Brodsky before

the ARDC.

          24.     On January 23, 2019, Brodsky stated publicly that he had “fired” Brown and

GRSM for “gross ineffective assistance, and a failure to provide a minimally competent

defense” in article published by the Chicago Daily Law Bulletin.




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        25.       On January 28, 2019, Brodsky in pro se capacity filed a Petition for Rehearing

with the U.S. Court of Appeals for the Seventh Circuit, arguing that rehearing was necessary

given ineffective representation of counsel. (Document No. 38 in Case No. 18-1811).

        26.       On February 11, 2019, the Seventh Circuit Court of Appeals denied Brodsky’s

Petition for Rehearing. (Document No. 39 in Case No. 18-1811).

        27.       On February 13, 2019, Brodsky filed civil complaint against Brown and GRSM in

the Circuit Court of Cook County, Case No. 2019L001570. (A true and correct copy of the civil

complaint is attached hereto as Exhibit A.)

        28.       In the complaint, Brodsky alleges in part, “That but for the aforesaid breaches of

duty by Defendant Ryan Brown the Plaintiff Joel A. Brodsky would not have been sanctioned by

[sic] Judge Kendall of the U.S. District Court in the Twyman lawsuit.” (Ex. A, Compl., ¶ 10.)

        29.       On February 14, 2019, Brodsky filed the following documents in the Twyman

litigation:

                 an appearance on behalf of himself (Doc. 244);

                 a Motion to Vacate the March 28, 2018 Sanctions Order (Doc. 245); and

                 a Motion for Recusal (Doc. 247).

        The aforementioned motions have been noticed for March 4, 2019. (Docs. 246, 248).

        30.       On February 19, 2019, the Mandate was issued by the Seventh Circuit Court of

Appeals. (Document No. 40 in Case No. 18-1811).

        31.       On February 19, 2019, the Mandate (Doc. 249), Order Denying the Petition for

Rehearing (Doc. 250), Certified Copy of the USCA Judgment (Doc. 251), and Nonprecedential

Disposition (Doc. 252) were entered by the District Court.




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III.   LOCAL RULE 83.16 / BASIS FOR WITHDRAWAL

       “An attorney who has filed an appearance form pursuant to LR83.16 is the attorney of

record for the party represented for all purposes incident to the proceeding in which the

appearance was filed. The attorney of record may not withdraw…without first obtaining leave of

court...” LR 83.16.

       Messrs. Brown and Roth bring this motion to withdraw given that Brodsky’s recently

filed motions are scheduled to be heard on March 4, 2019. As evidenced by the civil complaint

filed by Brodsky against Brown and GRSM as well as the Motion to Vacate (Doc. 245), the

relationship between Brodsky and GRSM has become untenable, making it impossible for

GRSM, Brown or Roth to effectively represent Brodsky.

       GRSM has advised Brodsky of the intention of Brown and Roth to withdraw as counsel

in this matter, Brodsky has publicly stated that he has fired Brown as his counsel, Brodsky has

filed a pro se appearance in this case (Doc. 244), and Joseph Lopez has an appearance on file

(Doc. 180). Accordingly, sufficient grounds exist to permit withdrawal under LR83.16 and Rules

of Professional Conduct 1.16(b)(5), (6) & (7).

IV.    CONCLUSION

       For the foregoing reasons, Ryan T. Brown and Brian M. Roth of Gordon Rees Scully

Mansukhani LLP respectfully request that this Honorable Court enter an order permitting them

to withdraw as counsel of record for Joel Alan Brodsky.

Dated: February 26, 2019                     Respectfully submitted,


                                             s/ Ryan T. Brown
                                              Ryan T. Brown

                                             s/ Brian M. Roth
                                              Brian M. Roth



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